OPINION — AG — QUESTION(1): IF A MEMBER OF THE RETIRMENT AND PENSION PLAN OF THE DEPARTMENT OF PUBLIC SAFETY IS RETIRED, MAY HE THEREAFTER BE EMPLOYED BY SAID DEPARTMENT IN SOME CAPACITY OTHER THAN A MEMBER OF THE UNIFORM DIVISION OF THE HIGHWAY PATROL, PROVIDED THAT HE DOES NOT RECEIVE ANY RETIREMENT PAY WHILE SO EMPLOYED ? — AFFIRMATIVE, QUESTION(2): IF THE ANSWER TO THE ABOVE IS IN THE AFFIRMATIVE, MAY A PERSON, IN SUCH OTHER CAPACITY, AGAIN BE A MEMBER OF THE RETIREMENT AND PENSION PLAN SO AS TO BE ABLE TO MAKE CONTRIBUTIONS TO, AND ACCRUE ADDITIONAL CREDIT IN, SAID PLAN ? — NEGATIVE (OCCUPATION, RETIREMENT, SAME POSITION, SAME JOB) CITE: 47 O.S. 381.5 [47-381.5], 47 O.S. 381.8 [47-381.8] (RICHARD HUFF)